             Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 --------------------------------------------------------
 ELAINE WANG,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. 1:21-cv-3756
                                                            :
 v.                                                         :
                                                            :   COMPLAINT FOR VIOLATIONS OF
 GRUBHUB INC., BRIAN MCANDREWS,                             :   SECTIONS 14(a) AND 20(a) OF THE
 DAVID FISHER, LLOYD FRINK, DAVID                           :   SECURITIES EXCHANGE ACT OF
 HABIGER, LINDA JOHNSON RICE,                               :   1934
 KATRINA LAKE, GIRISH LAKSHMAN,                             :
 MATT MALONEY, and KEITH RICHMAN,                           :   JURY TRIAL DEMANDED
                                                            :
                   Defendants.                              :
 --------------------------------------------------------   :



        Elaine Wang (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against Grubhub Financial, Inc. (“Grubhub or

the “Company”) and the members Grubhub board of directors (the “Board” or the “Individual

Defendants” and collectively with the Company, the “Defendants”) for their violations of Sections

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), in connection with

the proposed acquisition of Grubhub by affiliates of Just Eat Takeaway.com N.V. (herein referred

to as the “Just Eat”).

        2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A

(the “Proxy Statement”) to be filed on April 27, 2021 with the United States Securities and
            Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 2 of 17




Exchange Commission (“SEC”) and disseminated to Company stockholders.                    The Proxy

Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby Checkers Merger Sub I, Inc. (“Merger Sub I”), a wholly-owned subsidiary of Just Eat,

will merge with and into Grubhub with Grubhub surviving the merger in the initial merger, with

Checkers Merger Sub II, Inc. (“Merger Sub II”) continuing as the surviving company in the

subsequent merger wherein Grubhub will merge with and into Merger Sub II and continuing as

Just Eat’s wholly owned subsidiary (the “Proposed Transaction”). Pursuant to the terms of the

definitive agreement and plan of merger the companies entered into (the “Merger Agreement”)

each Grubhub common share issued and outstanding will be converted into the right to receive (1)

New Just Eat Takeaway.com ADSs representing 0.6710 Just Eat Takeaway.com Shares (the

“merger consideration”), plus (2) cash in lieu of fractional New Just Eat Takeaway.com ADSs,

plus (3) any dividends or other distributions to which such holder is entitled pursuant to the Merger

Agreement (the “Merger Consideration”).

       3.       As discussed below, Defendants have asked Grubhub stockholders to support the

Proposed Transaction based upon the materially incomplete and misleading representations and

information contained in the Proxy Statement, in violation of Sections 14(a) and 20(a) of the

Exchange Act. Specifically, the Proxy Statement contains materially incomplete and misleading

information concerning the Company’s financial forecasts and financial analyses conducted by the

financial advisor of the Company, Evercore Group L.L.C. (“Evercore”) in support of its fairness

opinion, and relied upon by the Board in recommending the Company’s stockholders vote in favor

of the Proposed Transaction.




                                                 2
             Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 3 of 17




        4.       It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

        5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Grubhub stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because the closing on the Merger will take place in this

District, at the offices of Kirkland & Ellis LLP, the Company’s legal advisor. Further, the

Company’s stock is traded on the New York Stock Exchange, headquartered in this District; and

Just Eats has designated a bank or trust company located in this District for the purpose of

exchanging shares of Company common stock in accordance with the Merger Agreement.




                                                   3
             Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 4 of 17




Importantly, Grubhub maintains a significant presence in this District, including the office of its

General Counsel.

                                             PARTIES

        9.       Plaintiff is, and has been at all relevant times, the owner of Grubhub common stock

and has held such stock since prior to the wrongs complained of herein.

        10.      Individual Defendant Brian McAndrews has served as a member of the Board since

October 2011 and is the Chairman of the Board.

        11.      Individual Defendant David Fisher has served as a member of the Board since June

2012.

        12.      Individual Defendant Lloyd Frink has served as a member of the Board since

December 2013.

        13.      Individual Defendant David Habiger has served as a member of the Board since

October 2016.

        14.      Individual Defendant Linda Johnson Rice has served as a member of the Board

since October 2016.

        15.      Individual Defendant Katrina Lake has served as a member of the Board since

December 2015.

        16.      Individual Defendant Girish Lakshman has served as a member of the Board since

March 2015.

        17.      Individual Defendant Matt Maloney has served as a member of the Board nand the

Chief Executive Officer of the Company since August 8, 2013.

        18.      Individual Defendant Keith Richman has served as a member of the Board since

February 2016.




                                                  4
          Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 5 of 17




       19.      Defendant Grubhub is incorporated in Delaware and maintains its principal offices

at 111 West Washington Street, Suite 2100, Chicago, IL 60602. The Company’s common stock

trades on the New York Stock Exchange under the symbol “GRUB.”

       20.      The defendants identified in paragraphs 10-18 are collectively referred to as the

“Individual Defendants” or the “Board.”

       21.      The defendants identified in paragraphs 10-19 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.     The Proposed Transaction

       22.      Grubhub, together with its subsidiaries, provides an online and mobile platform for

restaurant pick-up and delivery orders in the United States. The company connects approximately

300,000 local restaurants with diners in various cities. It offers mobile applications and mobile

Websites; and operates Websites through grubhub.com, seamless.com, and menupages.com. The

company also provides corporate program that offers employees with various food and ordering

options, including options for individual meals, group ordering, and catering, as well as proprietary

tools that consolidate various food ordering into a single online account. In addition, it offers

Grubhub for Restaurants, a responsive web application that can be accessed from computers and

mobile devices, as well as Grubhub-provided tablets; GH+ subscription program to diners;

delivery services to restaurants; point of sale (POS) integration, which allows restaurants to

manage Grubhub orders and update their menus directly from their existing POS system; and

Website and mobile application design and hosting services for restaurants, as well as technology

and fulfillment services, including order transmission and customer relationship management

tools. The company was formerly known as GrubHub Seamless Inc. and changed its name to




                                                 5
          Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 6 of 17




Grubhub Inc. in February 2014. Grubhub Inc. was founded in 1999 and is headquartered in

Chicago, Illinois.

       23.     On June 10, 2020, Grubhub and Just Eats jointly announced that they had entered

into the Proposed Transaction:

       Just Eat Takeaway.com N.V. (AMS: TKWY, LSE: JET), (the “Company” or “Just
       Eat Takeaway.com”), and Grubhub Inc. (NYSE: GRUB) (“Grubhub”) have entered
       into a definitive agreement whereby the Company is to acquire 100% of the shares
       of Grubhub in an all-stock transaction (the “Transaction”) to create the world’s
       largest online food delivery company outside of China, measured by Gross
       Merchandise Value (“GMV”) and revenues. The Transaction represents Just Eat
       Takeaway.com’s entry into online food delivery in the United States (“U.S.”) and
       builds on the strategic rationale for its recent merger with Just Eat plc (“Just Eat”).
       A combined Just Eat Takeaway.com and Grubhub (the “Combined Group”) will
       become the world’s largest online food delivery company outside of China1, with
       strong brands connecting restaurant partners with their customers in 25 countries.
       The Combined Group will be built around four of the world’s largest profit pools
       in online food delivery: the U.S., the United Kingdom (“U.K.”), the Netherlands
       and Germany, increasing the Combined Group’s ability to deploy capital and
       resources to strengthen its competitive positions in all its markets. The Combined
       Group has strong leadership positions in almost all countries in which it is present
       and will become a significant player in North America. Just Eat Takeaway.com
       owns the leading Canadian business SkipTheDishes. The Combined Group is one
       of the few profitable players in the space and processed approximately 593 million
       orders in 2019 with more than 70 million combined active customers globally.

       Key Terms
       • Under the terms of the Transaction, Grubhub shareholders will be entitled to
       receive American depositary receipts (“ADRs”) representing 0.6710 Just Eat
       Takeaway.com ordinary shares in exchange for each Grubhub share, representing
       an implied value of $75.15 for each Grubhub share (based on the undisturbed
       closing price of Just Eat Takeaway.com on 9 June 2020 of €98.602) and implying
       a total equity consideration (on a fully diluted basis) of $7.3 billion.

       • Immediately following completion of the Transaction, Grubhub shareholders are
       expected to own ADRs representing approximately 30.0% of the Combined Group
       (on a fully diluted basis).

       • On completion, Matt Maloney, CEO and founder of Grubhub, will join the Just
       Eat Takeaway.com Management Board and will lead the Combined Group’s
       businesses across North America and two current Grubhub Directors will join the
       Just Eat Takeaway.com Supervisory Board. • The Transaction is subject to the
       approval of both Just Eat Takeaway.com’s and Grubhub’s shareholders, as well as


                                                 6
  Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 7 of 17




other customary completion conditions. Subject to satisfaction of the conditions,
completion of the Transaction is anticipated to occur in the first quarter of 2021.

• The Combined Group will be headquartered and domiciled in Amsterdam, the
Netherlands, with its North American headquarters in Chicago and a significant
presence in the U.K. Just Eat Takeaway.com is listed on Euronext Amsterdam and
the Main Market of the London Stock Exchange and will introduce an ADR listing
in the U.S.

Both the Managing Board and the Supervisory Board of Just Eat Takeaway.com
and the Board of Directors of Grubhub are recommending the Transaction to their
respective shareholders. Jitse Groen, CEO and founder of Just Eat Takeaway.com,
has entered into a voting and support agreement, and subject to and in accordance
with the terms thereof, has committed to vote in favour of the Transaction at the
Just Eat Takeaway.com extraordinary general meeting (“EGM”).

                                       ***

Transaction Highlights
• Creates the world’s largest food delivery company, outside of China, measured
by GMV and revenue.

• The Company is one of the few profitable players at scale in the space.

• Creates a company built around four of the world’s largest profit pools in food
delivery: the U.S., the U.K., the Netherlands and Germany. These markets show
substantial further opportunities for growth, significant penetration upside and
longer-term profitability improvements.

• Grubhub will be much stronger as part of Just Eat Takeaway.com. The
combination with Just Eat Takeaway.com’s Canadian business, SkipTheDishes, as
well as the increased scale and resources of the Combined Group will provide
greater flexibility to make strategic, long-term investment decisions.

• In the U.S., where the market is competitive and fragmented across local regions
and cities, Grubhub’s differentiated offering provides it with unique advantages
given its large marketplace business, its Seamless corporate business, its large
geographic footprint and extensive customer and restaurant relationships.

• The enhanced scale and leading positions of the Combined Group provide an
opportunity to leverage best practices from Just Eat Takeaway.com and Grubhub
and create the broadest possible offering to both restaurant partners and consumers.
The Combined Group will have a greater ability to leverage investments, in
particular in technology, marketing and restaurant delivery services across the
combined business.



                                         7
  Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 8 of 17




• The Combined Group will have a founder-led management team with a proven
track record of building leading positions in markets of scale. The new management
team has 55+ years of combined experience in the sector.

Integration Planning

• Just Eat Takeaway.com highly respects the Grubhub management team and,
following the completion of the Transaction, Matt Maloney will lead the Combined
Group’s businesses in North America, including Canada.

• Grubhub will continue to be headquartered in Chicago, U.S.

• Upon completion of the Transaction, the Combined Group will initiate a
programme to plan for integration, based on bringing together both companies’
experience of integrating acquisitions to minimise disruption to restaurants and
consumers, whilst delivering the expected opportunities and benefits of the
Transaction for the Combined Group’s stakeholders.

• The integration of Just Eat’s business is progressing well and is not expected to
be affected by the acquisition of Grubhub. As one of the first major milestones, in
the first week of June 2020, Just Eat’s market leading Swiss business was migrated
to Just Eat Takeaway.com’s central European IT platform and the teams are
working through further steps in the broader integration process.

Key Terms of the Merger Agreement

On 10 June 2020, Just Eat Takeaway.com entered into an Agreement and Plan of
Merger (the “Merger Agreement”), by and among Just Eat Takeaway.com,
Grubhub, Checkers Merger Sub I, Inc. (“Merger Sub I”), a Delaware corporation
and a wholly-owned subsidiary of Just Eat Takeaway.com, and Checkers Merger
Sub II, Inc. (“Merger Sub II”), a Delaware corporation and a wholly-owned
subsidiary of Just Eat Takeaway.com, providing for the acquisition by Just Eat
Takeaway.com of all of the issued and outstanding shares of common stock of
Grubhub. At the effective time of the Transaction, on the terms and subject to the
conditions set forth in the Merger Agreement, each share of common stock of
Grubhub will be converted into the right to receive ADRs representing 0.6710 Just
Eat Takeaway.com ordinary shares, without interest. Consummation of the
Transaction is subject to customary closing conditions, including (i) the required
approval of the Merger Agreement by the shareholders of Just Eat Takeaway.com
and Grubhub; (ii) completion of any review by U.S. and U.K. antitrust authorities
and the Committee on Foreign Investment in the United States (CFIUS); (iii) the
absence of any order prohibiting the Transaction; (iv) the accuracy of the
representations and warranties of the parties and compliance by the parties with
their respective obligations under the Merger Agreement (subject to customary
materiality qualifiers); (v) the absence of any material adverse effect on Just Eat
Takeaway.com or Grubhub since the date of the Merger Agreement; and (vi)


                                        8
         Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 9 of 17




       approval of listing of the Just Eat Takeaway.com ADRs to be issued as the merger
       consideration on a U.S. stock exchange. Just Eat Takeaway.com and Grubhub have
       each made customary representations and warranties and covenants in the Merger
       Agreement. Among other things, each of Just Eat Takeaway.com and Grubhub may
       not solicit or participate in discussions with third parties regarding alternative
       acquisition proposals, subject to exceptions that allow each of Just Eat
       Takeaway.com and Grubhub under certain circumstances to provide information to
       and participate in discussions with third parties with respect to unsolicited
       alternative acquisition proposals. In addition, until the termination of the Merger
       Agreement or the effective time of the Transaction, each of Just Eat Takeaway.com
       and Grubhub has agreed to use reasonable best efforts to operate its business in the
       ordinary course of business in all material respects and has agreed to certain other
       negative covenants. The Merger Agreement contains certain termination rights for
       Just Eat Takeaway.com and Grubhub. Upon termination of the Merger Agreement
       under specified circumstances, including if Just Eat Takeaway.com or Grubhub
       terminates the Merger Agreement in order to accept an alternative acquisition
       proposal that constitutes a superior proposal or if the board of one party changes its
       recommendation of the transaction, Just Eat Takeaway.com or Grubhub, as
       applicable, will be required to pay the other party a termination fee of $144 million.
       The foregoing description of the Merger Agreement and the transactions
       contemplated thereby does not purport to be complete and is subject to, and
       qualified in its entirety by, the full text of the Merger Agreement.

                                               ***

       24.     The Board has unanimously approved the Proposed Transaction. It is therefore

imperative that Grubhub’ stockholders are provided with the material information that has been

omitted from the Proxy Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       25.     On April 27, 2021, Grubhub filed the Proxy Statement with the SEC in connection

with the Proposed Transaction.       The Proxy Statement was furnished to the Company’s

stockholders and solicits the stockholders to vote in favor of the Proposed Transaction. The

Individual Defendants were obligated to carefully review the Proxy Statement before it was filed

with the SEC and disseminated to the Company’s stockholders to ensure that it did not contain any

material misrepresentations or omissions. However, the Proxy Statement misrepresents and/or



                                                 9
         Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 10 of 17




omits material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Grubhub and Just Eat Financial
Projections

       26.     The Proxy Statement fails to provide material information concerning financial

projections by Grubhub management and Just Eat management and relied upon by Evercore and

the Board in their analysis and deliberation. The Proxy Statement discloses management-prepared

financial projections for the Company which are materially misleading. The Proxy Statement

indicates that in connection with the rendering of its fairness opinion, that the Company prepared

certain non-public financial forecasts (the “Company Projections”) and provided them to the Board

and the financial advisors with forming a view about the stand-alone valuation of the Company.

Accordingly, the Proxy Statement should have, but fails to provide, certain information in the

projections that Grubhub management and Just Eat management provided to the Board and the

financial advisors. Courts have uniformly stated that “projections … are probably among the most

highly-prized disclosures by investors. Investors can come up with their own estimates of discount

rates or [] market multiples. What they cannot hope to do is replicate management’s inside view

of the company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203

(Del. Ch. 2007).

       27.     For the Company Projections, the Proxy Statement provides values for non-GAAP

(Generally Accepted Accounting Principles) financial metrics: Adjusted EBITDA and Levered

Free Cash Flow, but fails to provide line items used to calculate these metrics and/or a

reconciliation of these non-GAAP metrics to their most comparable GAAP measures, in direct

violation of Regulation G and consequently Section 14(a).



                                               10
         Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 11 of 17




       28.     For the Just Eat Projections, the Proxy Statement provides values for non-GAAP

(Generally Accepted Accounting Principles) financial metrics: Adjusted Revenue, Adjusted

EBITDA, Unlevered Free Cash Flow, but fails to provide line items used to calculate these metrics

and/or a reconciliation of these non-GAAP metrics to their most comparable GAAP measures, in

direct violation of Regulation G and consequently Section 14(a).

       29.     The Proxy Statement also fails to disclose projected net income information for

both companies, despite the reference to this metric in the Projections.

       30.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       31.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other




                                                 11
         Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 12 of 17




               non-discretionary expenditures that are not deducted from the
               measure.1

       32.     Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measure to the most comparable

GAAP measure to make the non-GAAP metrics included in the Proxy Statement not misleading.

Omissions and/or Material Misrepresentations Concerning Evercore’s Financial Analysis

       33.     With respect to Evercore’s Discounted Cash Flow Analysis for Grubhub, the Proxy

Statement also fails to disclose: (i) the terminal values for the Company; (ii) the inputs and

assumptions underlying the use of terminal year multiples ranging from 16.0x to 20.0x; (iii) the

inputs and assumptions underlying the range of perpetuity growth rates from 6.8% to 9.2%; (iv)

the inputs and assumptions underlying the range of discount rates from 9.0% to 11.0%; (v) the

Company’s weighted cost of capital; (vi) the ranges of present values for the cash flows and

terminal values and the estimated present value as of March 31, 2020 of the tax savings of the

Company attributed to its net operating losses; and (vii) the Company’s net debt as of March 31,

2020; (viii) the number of fully diluted outstanding Grubhub shares.

       34.     With respect to Evercore’s Discounted Cash Flow Analysis for Just Eat, the Proxy

Statement also fails to disclose: (i) the terminal values for Just Eat; (ii) the inputs and assumptions

underlying the use of terminal year multiples ranging from 12.0x to 14.0x; (iii) the inputs and

assumptions underlying the range of perpetuity growth rates from 2.6% to 5.3%; (iv) the inputs

and assumptions underlying the range of discount rates from 9.0% to 11.0%; (v) Just Eat’s

weighted cost of capital; (vi) the ranges of present values for the cash flows and terminal values



1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

                                                  12
           Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 13 of 17




and the estimated present value as of March 31, 2020 of the tax savings of Just Eat attributed to its

net operating losses; and (vii) Just Eat’s estimated net debt as of March 31, 2020; (viii) Just Eat’s

unconsolidated assets; and (ix) the number of fully diluted outstanding Just Eat shares.

          35.   With respect to Evercore’s Premia Paid Analysis, the Proxy Statement also fails to

disclose the premiums paid and the acquisitions observed by Evercore in the analysis.

          36.   In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          37.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          38.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          39.   Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and



                                                 13
         Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 14 of 17




authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, financial

analysis that were prepared by Evercore and relied upon by the Board in recommending the

Company’s stockholders vote in favor of the Proposed Transaction.

       40.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

       41.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives and the Company’s

financial projections.

       42.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate




                                                  14
           Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 15 of 17




remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          43.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          44.   The Individual Defendants acted as controlling persons of Grubhub within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of Grubhub, and participation in and/or awareness of the Company’s operations and/or

intimate knowledge of the incomplete and misleading statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision making of Grubhub, including the content and dissemination of

the various statements that Plaintiff contends are materially incomplete and misleading.

          45.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          46.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Grubhub, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue contains




                                                 15
         Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 16 of 17




the unanimous recommendation of the Board to approve the Proposed Transaction. The Individual

Defendants were thus directly involved in the making of the Proxy Statement.

       47.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       48.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       49.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       50.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;


                                                 16
           Case 1:21-cv-03756-AJN Document 1 Filed 04/28/21 Page 17 of 17




          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.




 Dated: April 28, 2021                              MELWANI & CHAN LLP

                                               By: /s Gloria Kui Melwani
                                                   Gloria Kui Melwani (GM5661)
                                                   1180 Avenue of the Americas, 8th Fl.
                                                   New York, NY 10036
                                                   Telephone: (212) 382-4620
                                                   Email: gloria@melwanichan.com

                                                    Attorneys for Plaintiff




                                                  17
